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LTE) YA
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02-C'V-00468-ORD Honorable Thomas 8. Zilly

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

 

Plaintiff in Intervention.

AT SEATTLE

EQUAL EMPLOY MENT OPPORTUNITY )
COMMISSION, )

) NO. C0?-4687

Plaintill, ) .
) STIPULATION AND ORDER RE:
Vv. ) EXONERATION AND RELEASE OF

) SUPERSEDEAS BOND
LAIDLAW, INC., and LAIDLAW J
EDUCATION SERVICES dba LAIDLAW )
TRANSIT, INC., )

)

Defendant. }

)

}
SHERYL EVERSON, }

)

)

)

 

STIPULATION

The parties advise the Court as follows:
1. On December 4, 2003, defendani Laidlaw posted with the court supersedeas bond
#1000132 in the amount of $275, 000.00 issucd by LEXON INSURANCE

COMPANY.

2. The parties have settled all claims between them, and the appeal has been dismissed.

STIFULATION AND ORDLR RE: EXONDRATION AND ProACT Law Group, PLLC
RELEASE OF SUPERSEDEAS BOND Seattle, Wavhinpion PAIEE-4211

C2468 4, -l- (2OG) M277 - Paw: CMM) UB 2-876)

 
 

Case 2:02-cv-00468-TSZ Document 147 Filed 08/11/05 Page 2 of 2

Accordingly, the parties stipulate to entry of the following order.

Dated: July 7, 2005 ProACT LAW GROUP, PLLC

s/ Cheryl Hintz Middleton
Cheryl Hintz Middleton
WSB No. 23025
Attomeys for Defendant

Dated: _ July 11, 2005 MUNDT MACGREGOR 1,.L.P.

By: /s/ John H. Chun
John H. Chun
WSB No. 24767
Mark A. Wilner
WSB No, 31550
Attorneys for Plaintiff in Intervention

Dated:, August 10, 2005 EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION

By: __/s/ Carmen Flores
Carmen Flores

WSB No. 25798
Attorneys for Plaintiff

ORDER
Based on the foregoing stipulation, IT 1S SO ORDERED, The supersedeas bond in the

amount of $275,000.00, posted by Laidlaw is hereby fully exoncrated and released.

pats argo oo “hee

Judge Thomas S. Zill

STIPULATION AND ORDER RL: EXONERATION AND ProACT Law Ciroup, PLO

RELEASE OF SUPERSEDUAS BOND Seattle, Wachenkan utSS-4211

(02-4682 -2- (205) 362.5763 - Faw: (AWRY 362-8744

 

 
